        Case 2:18-cv-00468-RDP Document 17 Filed 07/20/18 Page 1 of 2                    FILED
                                                                                 2018 Jul-20 PM 03:45
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA

CLARE THOMAS,
            Plaintiff,
                                                        Case No.
v.                                                 2:18-cv-00468-RDP

T-MOBILE, USA, INC., et al.
            Defendants.

                              Notice of Appearance

      The undersigned, Keith T. Belt, Jr., of Belt & Bruner, P.C., hereby notifies

the Court of his appearance as additional counsel of record in the above-styled case

on behalf of Plaintiff Clare Thomas.

      Dated this 20th day of July, 2018.



                                             /s/ Keith T. Belt, Jr.
                                             Keith T. Belt, Jr. (ASB-6843-T79K)
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        Case 2:18-cv-00468-RDP Document 17 Filed 07/20/18 Page 2 of 2




                           CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of the

Court using the CM/ECF system. In the event that the CM/ECF system does not

send notification of such filing to the following, undersigned counsel will serve the

following via U.S. Mail.



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